                                          Case 1:24-cv-00092-DII            Document 59-2               Filed 01/13/25                 Page 1 of 1

                            TxDOT Index of the Third Supplement to the Administrative Record
                                         I-35 Capital Express - Central Project
                                                                                                         Description
 Doc Admin        Doc       Doc              From/                   To/*                                CC:*
 No. Rec No.      Date      Type             Author(s)               With         Source                 Attachments/Enclosures (A/E)*
  C-  AR57032-   7/29/2009 Agreement         TxDOT and City of       N/A          TxDOT                  Operations and Maintenance Agreement for the Woodall Rodgers Deck Plaza Facility with the City of
AR286 AR57098                                Dallas                                                      Dallas (On-System) CSJs: 0196-07-027; 0196-07-029
                                                                                                         A/E: Attachment A - Original Executed Agreement with Amendments 1, 2 & 3
                                                                                                         Attachment B- Resolution Approving This Agreement (Maintenance)
                                                                                                         Attachment C - Location Map (Maintenance)
                                                                                                         Attachment D - Scope of Work and Work Responsibilities (Maintenance)
                                                                                                         Attachment E - Inspection and Maintenance Schedule (Maintenance) Mechanical System/Electrical
                                                                                                         System by Local Government
  C-  AR57099-   1/18/2015 Articles          Dan Zehr - Austin       N/A          The Wayback Machine    Inheriting Inequality - three-part series on the racial divides
AR287 AR57132                                American Statesman
  C-  AR57133-   8/17/2015 Document          TTI for TCEQ            N/A          TCEQ                   On Road, Mobile Source Trend Emissions Inventories for All 254 Counties in Texas for 1999 - 2050
AR288 AR57268
  C-  AR57269-   2/7/2020 Document           Capital Area            N/A          CAMPO                  CAMPO Baseline 2045 Demographic Forecast
AR289 AR57288                                Metropolitan Planning
                                             Organization
  C-  AR57289-   8/27/2020 Document          TxDOT                   N/A          TxDOT                  Unified Transportation Program 2021
AR290 AR57528
  C-  AR57529-   9/1/2020 Report             Downtown Austin         N/A          Downtown Austin        A New Future for I-35: A Community Project for Enhancing the Public Realm - Opportunities &
AR291 AR57609                                Alliance                             Alliance               Constraints Report
  C-  AR57610- 11/12/2020 Report             Reconnect Austin and N/A             Reconnect Austin       Reconnect Austin: Reimagining I-35
AR292 AR57632                                Black + Vernooy
                                             Architecture and Urban
                                             Design
  C-  AR57633-   3/26/2021 Presentation      TxDOT                   N/A          TxDOT                  Deck Parks in Dallas: A Look at Funding
AR293 AR57642
  C-  AR57643-   7/12/2021 Presentation      TxDOT                   N/A          TxDOT                  CapEx VOICE Meeting #3 presentation
AR294 AR57654
  C-  AR57655-   8/30/2022 Document          TxDOT                   N/A          TxDOT                  Unified Transportation Program 2023
AR295 AR57857
  C-  AR57858-   1/6/2025 Website            U.S. EPA                N/A          U.S. EPA               Global Greenhouse Gas Emissions Website
AR296 AR57866
  C-  AR57867-   1/6/2025 Website            U.S. EPA                N/A          U.S. EPA               Climate Change Indicators: Greenhouse Gases Website
AR297 AR57873
  C-  AR57874-   1/6/2025 Website            Rethink35               N/A          rethink35.org          Rethink35 - website
AR298 AR57878
  C-  AR57879-   1/8/2025 Website            U.S. EPA                N/A          U.S. EPA               2011 National Air Toxics Assessment Website
AR299 AR57884




*Note: To, CC, and Attachments will be listed if applicable                 Index of TxDOT I-35 Capital Express Central Third Supplement to the Administrative Record
                                                                                                                                                           Page 1 of 1
